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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                    Plaintiff,                             4:23-CR-3039

vs.
                                                    TENTATIVE FINDINGS
TARRA ARCOS,

                    Defendant.

      The Court has received the revised presentence investigation report in
this case. There are no objections to the presentence report. The defendant has
filed a motion for variance (filing 90).


      IT IS ORDERED:


1.    The Court will consult and follow the Federal Sentencing
      Guidelines to the extent permitted and required by United States
      v. Booker, 543 U.S. 220 (2005) and subsequent cases. In this
      regard, the Court gives notice that, unless otherwise ordered, it
      will:

      (a)     give the advisory Guidelines respectful consideration within
              the context of each individual case and will filter the
              Guidelines' advice through the 18 U.S.C. § 3553(a) factors,
              but will not afford the Guidelines any particular or
              "substantial" weight;

      (b)     resolve all factual disputes relevant to sentencing by the
              greater weight of the evidence and without the aid of a jury;
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     (c)   impose upon the United States the burden of proof on all
           Guidelines enhancements;

     (d)   impose upon the defendant the burden of proof on all
           Guidelines mitigators;

     (e)   depart from the advisory Guidelines, if appropriate, using
           pre-Booker departure theory; and

     (f)   in cases where a departure using pre-Booker departure
           theory is not warranted, deviate or vary from the Guidelines
           when there is a principled reason justifying a sentence
           different than that called for by application of the advisory
           Guidelines, again without affording the Guidelines any
           particular or "substantial" weight.

2.   There are no objections that require resolution at sentencing. The
     defendant has filed a motion for variance (filing 90) based on her
     personal circumstance and the circumstances of the offense. That
     motion will be resolved at sentencing.

3.   Except to the extent, if any, that the Court has sustained an
     objection, granted a motion, or reserved an issue for later
     resolution in the preceding paragraph, the parties are notified that
     the Court's tentative findings are that the presentence report is
     correct in all respects.

4.   If any party wishes to challenge these tentative findings, that
     party shall, as soon as possible (but in any event no later than
     three (3) business days before sentencing) file with the Court and



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     serve upon opposing counsel an objection challenging these
     tentative findings, supported by a brief as to the law and such
     evidentiary materials as are required, giving due regard to the
     local rules of practice governing the submission of evidentiary
     materials. If an evidentiary hearing is requested, such filings
     should include a statement describing why a hearing is necessary
     and how long such a hearing would take.

5.   Absent timely submission of the information required by the
     preceding paragraph, the Court's tentative findings may become
     final and the presentence report may be relied upon by the Court
     without more.

6.   Unless otherwise ordered, any objection challenging these
     tentative findings shall be resolved at sentencing.

     Dated this 21st day of December, 2023.


                                          BY THE COURT:



                                          John M. Gerrard
                                          Senior United States District Judge




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